                                                                                         FORM 1
                                                                     INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                   Page:      1
                                                                                      ASSET CASES
Case No:            15-61393        RK     Judge: RUSS KENDIG                                                                   Trustee Name:                     ANNE PIERO SILAGY Trustee
Case Name:          CROXTON, ELAINE K                                                                                          Date Filed (f) or Converted (c):   10/23/15 (c)
                    CROXTON, HERBERT P                                                                                         341(a) Meeting Date:               12/08/15
For Period Ending: 09/30/18                                                                                                    Claims Bar Date:                   07/11/16



                                       1                                       2                          3                         4                         5                                 6
                                                                                                 Estimated Net Value
                                                                           Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                           Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                  Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. 611 Delford Ave. NW, Massillon OH 44646 #4302751                          52,000.00                             0.00                                               0.00                  FA
 2. 8230-8232 Turquoise Ave. NE, Canton OH 44721 #521                         81,200.00                             0.00                                               0.00                  FA
 3. 4650 Revere Ave. NW, Massillon OH 44647 #1627970                          61,700.00                             0.00                                               0.00                  FA
 4. 1922 Tanner Ave. SW, Canton OH 44706 #243469 (RESI                         2,100.00                             0.00                                               0.00                  FA
 5. 8216-8218 Turquoise Ave. NE, Canton OH 44721 #521                         83,800.00                             0.00                                               0.00                  FA
 6. 3965 Orion St. NW, North Canton OH 44720 #5501101                        108,800.00                             0.00           OA                                  0.00                  FA
 7. 1916 Lincoln Way NW, Massillon OH 44647 #605924 &                        113,400.00                             0.00                                               0.00                  FA
 8. 519 Woodside Ave. NE, North Canton OH 44720 #9208                         73,100.00                             0.00           OA                                  0.00                  FA
 9. 327 Lennox Ave. NW, Massillon OH 44646 #4304326                           58,300.00                             0.00           OA                                  0.00                  FA
 10. 6092 Fulton Dr. NW, Canton OH 44718 #1615852                             54,000.00                             0.00           OA                                  0.00                  FA
 11. REVERE AVE NW , Massillon OH 44647 #1627969 Vacant                        9,000.00                             0.00                                               0.00                  FA
 12. 20th St SW, Canton OH 44706 # 223039 Vacant Land                          3,000.00                             0.00                                               0.00                  FA
 13. WOODSIDE AVE NE , North Canton OH 44720 #9208646 O                       16,200.00                             0.00           OA                                  0.00                  FA
 14. 213 Linwood, N.W., Canton, OH 44708                                     106,000.00                             0.00                                               0.00                  FA
 15. 513 Wrexham Ave., S.W., Massillon, OH 44646                              69,700.00                             0.00                                               0.00                  FA
 16. Checking - Chase xxxx5535                                                     500.00                           0.00                                               0.00                  FA
 17. Checking - Chase xxx9079                                                      400.00                           0.00                                               0.00                  FA
 18. Business Checking - Wayne Savings xxxx5251                                    900.00                           0.00                                               0.00                  FA
 19. Checking - Wayne Savings xxxx5558                                              63.37                           0.00                                               0.00                  FA
 20. Business Checking - First National xxxx1712                                    41.84                           0.00                                               0.00                  FA
 21. IRA - UBS Financial                                                      20,000.00                             0.00                                               0.00                  FA
 22. LannieKay, LLC                                                           16,373.00                             0.00                                               0.00                  FA
 23. Judgment against Catherine Clay (2013-CVG-5708)                           3,425.00                             0.00                                               0.00                  FA
 24. Judgment against Siffrin, Inc. (2013-CVI-5429)                            1,379.98                             0.00                                               0.00                  FA
 25. Judgment against Natalia Amaya (2014-CVI-2877)                            2,050.00                             0.00                                               0.00                  FA
 26. Interest in Carroll Brady Irrevocable Trust as a b                        Unknown                              0.00                                               0.00                  FA



LFORM1                                                                                                                                                                                                      Ver: 20.02


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                                                                                                              Estimated Net Value
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                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 27. 2003 Ford Expedition (130,000 miles)                                                    3,061.00                               0.00                                                0.00                    FA
 28. 2002 Ford F350                                                                               0.00                              0.00                                                0.00                    FA
 29. 1907 Jewel D Runabout                                                                   5,700.00                               0.00                                                0.00                    FA
 30. 1997 Sea Doo 10'                                                                        1,670.00                               0.00                                                0.00                    FA
 31. 1993 Sea Doo XP 8'                                                                      1,070.00                               0.00                                                0.00                    FA
 32. 1996 Rinker Boat Co. 18'                                                                3,350.00                               0.00                                                0.00                    FA
 33. 1992 Godfrey Pontoon Boat 24'                                                           4,160.00                               0.00                                                0.00                    FA
 34. 1996 Bombardier 10'                                                                        500.00                              0.00                                                0.00                    FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $956,944.19                              $0.00                                                $0.00                           $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Investigating possible assets.
   Subpoena issued 8/13/2017.
   Reviewing fraudulent transfers.
   Motion for Turnover of Tax Returns and Refunds filed 2/1/16, granted 2/19/16
   Motion to Extend Deadline to Object to Discharge filed 1/28/16, order granting 2/15/16 - deadline 5/9/16


   Initial Projected Date of Final Report (TFR): 12/31/17           Current Projected Date of Final Report (TFR): 12/31/18




LFORM1                                                                                                                                                                                                                         Ver: 20.02


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